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 6
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 7

 8                                      IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                              SAN FRANCISCO DIVISION
11

12    UNITED STATES OF AMERICA,                            Case No. CR 16-227 SI
13                       Plaintiff,
14                                                         DECLARATION OF DAVID RIZK
      v.
15
      ALEXANDER VINNIK,
16
                         Defendant.
17

18

19           I, David W. Rizk, state as follows:

20           I am the Assistant Federal Public Defender appointed to represent defendant Alexander Vinnik.

21           1. Following the last hearing in this matter, defense counsel advised Mr. Vinnik of the trial

22               schedule and pretrial deadlines and confirmed his agreement to waive time under the Speedy

23               Trial Act until trial.

24           I DECLARE under penalty of perjury that the foregoing is true and correct to the best of my

25 knowledge. Signed this 21st day of July, 2023, in San Francisco, California.

26

27                                                        ___/S__________________________
                                                          DAVID WADE RIZK
28                                                        Assistant Federal Public Defender
     US v. Vinnik, Case No. 16-227 SI
     Rizk Decl.                                       1
